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 5 Attorney for Plaintiff and the Putative Class

 6                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF CALIFORNIA
 7
     JENNIFER CARRUTH, individually and on behalf
 8   of all others similarly situated,

 9                         Plaintiff,               Case No.    2:24−CV−02484−DAD−SCR
            v.
10
     KD CREATIVES, INC. D/B/A BIG LITTLE
11                                                  STIPULATION TO EXTEND TIME TO
     FEELINGS,
                                                    RESPOND    TO    DEFENDANT’S
                                                    MOTION       TO       COMPEL
12                         Defendant.
                                                    ARBITRATION
13
                                                    District Judge: Hon. Dale A. Drozd
14                                                  Magistrate Judge: Sean C. Riordan
15                                                  Complaint filed:          Sept. 12, 2024
                                                    Motion to Compel filed:   Dec. 6, 2024
16                                                  Current Response date:    Dec. 20, 2024
                                                    New Response date:        Jan. 8, 2025
17                                                  Current Reply date:       Dec. 27, 2024
                                                    New Reply date:           Jan. 17, 2025
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 1          Plaintiff JENNIFER CARRUTH (“Plaintiff”) and Defendant KD CREATIVES, INC.

 2 (“Defendant”), by and through their undersigned attorneys, stipulate and agree as follows:

 3          WHEREAS, Defendant moved to compel arbitration on December 6, 2024.

 4          WHEREAS, Plaintiff’s current deadline to respond to Defendant’s motion is December 20,

 5 2024.

 6          WHEREAS, given the press of other matters and previously scheduled holiday travel,

 7 Plaintiff has asked Defendant to stipulate to additional time to oppose the motion to compel

 8 arbitration.

 9          WHEREAS, pursuant to Local Rule 144, the parties now stipulate to a brief extension of time,

10 making Plaintiff’s response due on January 8, 2025 and Defendant’s reply due on January 17, 2025.

11          Accordingly, IT IS HEREBY STIPULATED AND AGREED AS FOLLOWS:

12          Without prejudice to any of the Parties’ rights or defenses, Plaintiff’s time to oppose

13 Defendant’s Motion to Compel Arbitration in this action shall be extended until January 8, 2025.

14 Defendant’s deadline to reply to Plaintiff’s opposition is extended until January 17, 2025.

15          SO STIPULATED.

16

17 Dated: December 18, 2024                      Respectfully submitted,

18
                                                 /s/ Frank S. Hedin
19
                                                 HEDIN LLP
20                                               FRANK S. HEDIN
                                                 Counsel for Plaintiff and Putative Class
21

22 Dated: December 18, 2024                      POLSINELLI LLP

23                                               /s/ ____Noel S. Cohen_________________
                                                 Noel Cohen

                                                      2
     STIPULATION TO EXTEND TIME TO RESPOND TO DEFENDANT’S MOTION TO COMPEL ARBITRATION
      Case 2:24-cv-02484-DAD-SCR Document 13 Filed 12/18/24 Page 3 of 3


 1                                      Starr Drum
                                        Shundra Manning (pro hac vice forthcoming)
 2                                      Attorney for Defendant KD Creatives, Inc. d/b/a/ Big
                                        Little Feelings
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     STIPULATION TO EXTEND TIME TO RESPOND TO DEFENDANT’S MOTION TO COMPEL ARBITRATION
